                  Case 2022PR000094                   Document 13            Filed 03-10-2022            Page 1 of 2
                                                                                                                              FILED
                                                                                                                              03-10-2022
                                                                                                                              Register in Probate
 BY THE COURT:
                                                                                                                              Racine County
 DATE SIGNED: March 10, 2022                                                                                                  2022PR000094

                                        Electronically signed by Bruce Fishbain
                                                   Probate Registrar




     STATE OF WISCONSIN, CIRCUIT COURT, RACINE                                                                        COUNTY
                                                                                                               Amended
     IN THE MATTER OF THE ESTATE OF
     Malcolm Isaiah James                                                                Order for Special Administration
     Name                                                                                    (Formal Administration)
                                                                                               Case No. 2022PR000094

            A Petition for Special Administration was filed or the court acts on its own motion.

 THE COURT FINDS:
      1. The decedent, with date of birth 10/29/1993                                     and date of death 06/01/2021
         was domiciled in Racine                                                         County, State of Wisconsin                                 ,
         with a mailing address of 2425 19th Street, Racine, WI 53403                            .

      2. The court has jurisdiction, is the proper venue and there is a statutory basis for appointment of a special
         administrator.

      3. Notice was
                given to all persons entitled to notice.
                waived.
                deemed unnecessary by the court and the appointment should be made without delay.

      4. Other:

THE COURT ORDERS:
      1. Letters of special administration be issued to                                                                                             ,
         mailing address                                                                                                                            .
      2.        A signature bond                     A surety bond         in the sum of $                          is required.
                No bond is required.

      3. The special administrator is granted
           A. only these specific powers and duties: Authority to begin, maintain, manage, settle, and otherwise participate in all
               lawsuits involving the decedent or the decedent's estate. Request medical records, request discovery and or issue
               subpoenas for medical records. Obtain an Employer Identification Number and open an estate account. Deposit any
               settlement proceeds into the estate account. No distributions shall be made to any beneficiaries without further order of
               the Court.
           B. (following a hearing on notice to, or waiver of notice by, all interested parties) all the same powers, duties
               and liabilities as a personal representative.
                     Except:

      4. Other:


 PR-1852, 10/10 Order for Special Administration (Formal Administration)          §§867.07, 867.13, 867.17, 879.05 and 879.57, Wisconsin Statutes
                           Case 2:22-cv-00344-PP            Filed
                                This form shall not be modified.     03/18/22
                                                                 It may           Pagewith
                                                                        be supplemented     1 of   2 Document
                                                                                               additional   material.    1-4
                                                                           Page 1 of 2
                 Case 2022PR000094                   Document 13            Filed 03-10-2022               Page 2 of 2


             THIS IS A FINAL ORDER FOR THE PURPOSE OF APPEAL IF SIGNED BY A CIRCUIT COURT JUDGE.
   Form completed by: (Name)

   Attorney Danielle Burza-Smith
   Address
   440 Science Dr. STE 101
   Madison, WI 53711
   Telephone Number                 Bar Number
   608-447-0006                     1123938




PR-1852, 10/10 Order for Special Administration (Formal Administration)                 §§867.07, 867.13, 867.17, 879.05 and 879.57, Wisconsin Statutes
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